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                IN THE UNITED STATES DISTRICT COURT FOR
                 THE EASTERN DISTRICT OF PENNSYLVANIA
_______________________________________
MATHEW DELESKIEWICZ                     :
                                        :
                                        : CIVIL ACTION COMPLAINT NO.
               Plaintiff,               :
                                        : JURY TRIAL OF TWELEVE (12)
                                        : DEMANDED
      v.                                :
                                        :
TRANS UNION LLC                         :
                                        :
and                                     :
                                        :
EQUIFAX INFORMATION SERVICES            :
LLC                                     :
            Defendants.                 :
_______________________________________

                                            COMPLAINT

    NOW comes the Plaintiff, Mathew Deleskiewicz (hereinafter the “Plaintiff”), through their

Counsel of record to make their allegations known against the Defendants by and through their

complaint that alleges the following:

                                   PRELIMINARY STATEMENT

    1.      This is an action for actual, statutory and punitive damages, costs, and attorney’s fees

pursuant to 15 U.S.C. §1681 et seq. (Federal Fair Credit Reporting Act)

                                    JURISDICTION AND VENUE

    2.      Jurisdiction of this Court is conferred by 15 U.S.C. §1681(p) and 28 U.S.C. §1331.

    3.      Venue in this District is appropriate under 28 U.S.C. §1391(b)(2) because a substantial

part of the events giving rise to the claim occurred here since Plaintiff resides in the Eastern District

of Pennsylvania. Additionally, venue is proper under 28 U.S.C. §1391(b)(1) due to the fact Trans

Union has a major corporate office in the Eastern District of Pennsylvania and thus resides in the

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Eastern District of Pennsylvania. AES, Navient, Inc. and Pennsylvania Higher Education

Assistance Agency d/b/a Fedloan Servicing conduct business on a regular basis in the Eastern

District of Pennsylvania. Furthermore, AES, Navient, Inc. and Pennsylvania Higher Education

Assistance Agency d/b/a Fedloan Servicing, have been continually reporting data on Plaintiff’s

accounts with them to Trans Union’s corporate office located in the Eastern District of

Pennsylvania. Additionally, when Trans Union sent AES, Navient, Inc. and Pennsylvania Higher

Education Assistance Agency d/b/a Fedloan Servicing the ACDV in regard to Plaintiff’s dispute

of the AES, Navient, Inc. and Pennsylvania Higher Education Assistance Agency d/b/a Fedloan

Servicing accounts the dispute response were sent by AES, Navient, Inc. and Pennsylvania Higher

Education Assistance Agency d/b/a Fedloan Servicing to Trans Union’s corporate office located

in the Eastern District of Pennsylvania. Due to the fact Plaintiff lives in Pennsylvania, their

damages were suffered from in Pennsylvania. Thus, venue is appropriate to Trans Union under 28

U.S.C. §1391(b)(2) because a substantial part of the events giving rise to Plaintiff’s claim occurred

in the Eastern District of Pennsylvania. Based on information and belief, Equifax is reporting

accounts on over one million consumers in the Eastern District of Pennsylvania and is thus subject

to this court’s jurisdiction.

                                                PARTIES

    4.      Plaintiff is a natural person and is a citizen of Pennsylvania. At all relevant times to this

complaint Plaintiff has lived in the Eastern District of Pennsylvania. Plaintiff is a “consumer” as

that term is defined by 15 U.S.C. § 1681a(c).

    5.      Defendant, Trans Union, LLC, (hereinafter Trans Union) is a For-Profit Limited

Liability Company registered to do business in Pennsylvania and with a registered agent in

Pennsylvania. Defendant is a “consumer reporting agency,” as defined by 15 U.S.C. § 1681a(f)



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and engaged in the business of assembling, evaluating, and disbursing information concerning

consumers for the purpose of furnishing consumer reports, as defined by 15 U.S.C. § 1681a(d) to

third parties. Based on information and belief, Trans Union’s main corporate office is located in

the Eastern District of Pennsylvania.

   6.      Defendant, Equifax Information Services, LLC, (hereinafter Equifax) is a For-Profit

Limited Liability Company registered to do business in Pennsylvania and with a registered agent

in Pennsylvania. Defendant is a “consumer reporting agency,” as defined by 15 U.S.C. § 1681a(f)

and engaged in the business of assembling, evaluating, and disbursing information concerning

consumers for the purpose of furnishing consumer reports, as defined by 15 U.S.C. § 1681a(d) to

third parties. Based on information and belief, Equifax is reporting consumer credit files on over

two million consumers in Pennsylvania.

                                   FACTUAL ALLEGATIONS

   7.      Plaintiff incorporates by reference all the foregoing paragraphs as though the same

were set forth at length herein.

   8.      Plaintiff’s debt on AES accounts # 7PA0**** and # 7PAO**** arose from student

loans. The debt from these accounts was eliminated on or about 08/15/2014 which brought them

current with a $0 balance, according to Plaintiff’s Trans Union credit disclosure. Plaintiff’s debt

obligation on AES accounts # 7PA0**** and #7PAO**** ceased to exist on or before 08/15/2014.

Despite the debt related to AES accounts # 7PA0**** and #7PAO**** being fully eliminated on

or before 08/15/2014, AES continued to report an erroneous pay status of Account 120 Days Past

Due Date as of 11/11/2018.

   9.      Plaintiff’s debt on Navient accounts # 1ER0****, # 1ER0****, # 1ER0**** and

#1ER0**** arose from student loans. The debt from these accounts was eliminated on or about



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04/07/2017 which brought them current with a $0 balance, according to Plaintiff’s Trans Union

credit disclosure. Plaintiffs debt obligation on Navient accounts # 1ER0****, # 1ER0****, #

1ER0**** and #1ER0**** ceased to exist on or before 04/07/2017. Despite the debt related to

Navient accounts # 1ER0****, # 1ER0****, # 1ER0**** and #1ER0**** being fully eliminated

on or before 04/07/2017, Navient continued to report an erroneous pay status of Account 120 Days

Past Due Date as of 11/11/2018.

   10.     Plaintiff’s debt on Navient accounts # 1ER0**** and #1ER0**** arose from student

loans. The debt from these accounts was eliminated on or about 03/31/2017 which brought them

current with a $0 balance, according to Plaintiff’s Trans Union credit disclosure. Plaintiff’s debt

obligation on Navient accounts # 1ER0**** and #1ER0**** ceased to exist on or before

03/31/2017. Despite the debt related to Navient accounts # 1ER0**** and #1ER0**** being fully

eliminated on or before 03/31/2017, Navient continued to report an erroneous pay status of

Account 120 Days Past Due Date as of 11/11/2018.

   11.     Plaintiff’s debt on Fedloan accounts #8FD0****, #8FD0****, #8FD0****,

#8FD0****, #8FD0**** and #8FD0**** arose from student loans. The debt from these accounts

was eliminated on or about 03/09/2015 which brought them current with a $0 balance, according

to Plaintiff’s Trans Union credit disclosure. Plaintiff’s debt obligation on Fedloan accounts #

8FD0****, # 8FD0****, # 8FD0****, #8FD0****, #8FD0**** and #8FD0**** ceased to exist

on or before 03/09/2015. Despite the debt related to Fedloan accounts # 8FD0****, # 8FD0****,

# 8FD0****, #8FD0****, #8FD0**** and #8FD0**** being fully eliminated on or before

03/09/2015, Fedloan continued to report an erroneous pay status of Account 120 Days Past Due

Date as of 11/11/2018.




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   12.    Plaintiff’s debt on AES accounts # 7PA0**** and # 7PAO**** arose from student

loans. The debt from these accounts was eliminated on or about 08/2014 which brought them

current with a $0 balance, according to Plaintiff’s Equifax credit disclosure. Plaintiff’s debt

obligation on AES accounts # 7PA0**** and #7PAO**** ceased to exist on or before 08/2014.

Despite the debt related to AES accounts # 7PA0**** and #7PAO**** being fully eliminated on

or before 08/2014, AES continued to report an erroneous pay status of Over 120 Days Past Due as

of 11/12/2018.

   13.    Plaintiff’s debt on Navient accounts #1ER0****, #1ER0****, #1ER0****, and

#1ER0**** arose from student loans. The debt from these accounts was eliminated on or about

04/2017 which brought them current with a $0 balance, according to Plaintiff’s Equifax credit

disclosure. Plaintiff’s debt obligation on Navient accounts # 1ER0****, # 1ER0****, # 1ER0****,

#1ER0****, #1ER0**** and #1ER0**** ceased to exist on or before 04/2017. Despite the debt

related to Navient accounts #1ER0****, # 1ER0****, #1ER0****, #1ER0****, #1ER0****, and

#1ER0**** being fully eliminated on or before 04/2017, Navient continued to report an erroneous

pay status of Over 120 Days Past Due as of 11/12/2018.

   14.    Plaintiff’s debt on Navient accounts #1ER0**** and #1ER0**** arose from student

loans. The debt from these accounts was eliminated on or about 03/2017 which brought them

current with a $0 balance, according to Plaintiff’s Equifax credit disclosure. Plaintiff’s debt

obligation on Navient accounts # 1ER0**** and #1ER0**** ceased to exist on or before 03/2017.

Despite the debt related to Navient accounts #1ER0 and #1ER0**** being fully eliminated on or

before 03/2017, Navient continued to report an erroneous pay status of Over 120 Days Past Due

as of 11/12/2018.




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   15.     Plaintiff’s debt on Fedloan accounts #8FD0****, #8FD0****, #8FD0****,

#8FD0****, #8FD0****, and #8FD0**** arose from student loans. The debt from these accounts

was eliminated on or about 03/2015 which brought them current with a $0 balance, according to

Plaintiff’s Equifax credit disclosure. Plaintiff’s debt obligation on Fedloan accounts #8FD0****,

#8FD0****, #8FD0****, #8FD0****, #8FD0****, and #8FD0**** ceased to exist on or before

03/2015. Despite the debt related to Navient accounts #8FD0****, #8FD0****, #8FD0****,

#8FD0****, #8FD0****, and #8FD0**** being fully eliminated on or before 03/2015, Fedloan

continued to report an erroneous pay status of Over 120 Days Past Due as of 11/12/2018.

   16.     TransUnion’s report dated 11/11/2018 reported Plaintiff’s AES accounts with a

current “Pay Status: Over 120 Days Past Due Date” even though Plaintiff’s debt on these accounts

ceased to exist on or before 08/05/2014.

   17.     TransUnion’s report dated 11/11/2018 reported Plaintiff’s Navient accounts with a

current “Pay Status: Over 120 Days Past Due Date” even though Plaintiff’s debt on these accounts

ceased to exist on or before 04/07/2017.

   18.     TransUnion’s report dated 11/11/2018 reported Plaintiff’s Navient accounts with a

current “Pay Status: Over 120 Days Past Due Date” even though Plaintiff’s debt on these accounts

ceased to exist on or before 03/31/2017.

   19.     TransUnion’s report dated 11/11/2018 reported Plaintiff’s Fedloan accounts with a

current “Pay Status: Over 120 Days Past Due Date” even though Plaintiff’s debt on these accounts

ceased to exist on or before 03/09/2015.

   20.     Equifax’s report dated 11/12/2018 reported Plaintiff’s AES accounts with a current

“Pay Status: Over 120 Days Past Due” even though Plaintiff’s debt on these accounts ceased to

exist on or before 08/2014.



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   21.     Equifax’s report dated 11/12/2018 reported Plaintiff’s Navient accounts with a current

“Pay Status: Over 120 Days Past Due” even though Plaintiff’s debt on these accounts ceased to

exist on or before 04/2017.

   22.     Equifax’s report dated 11/12/2018 reported Plaintiff’s Navient accounts with a current

“Pay Status: Over 120 Days Past Due” even though Plaintiff’s debt on these accounts ceased to

exist on or before 03/2017.

   23.     Equifax’s report dated 11/12/2018 reported Plaintiff’s Fedloan accounts with a current

“Pay Status: Over 120 Days Past Due” even though Plaintiff’s debt on these accounts ceased to

exist on or before 03/2015.

   24.     Although Plaintiff’s accounts had a zero balance, Plaintiff’s Trans Union report dated

11/11/2018 reported the “Pay Status: Account 120 Days Past Due Date”. It is impossible and

incorrect for accounts that are closed with a “0” balance to still be reporting as late as of

11/11/2018. Not only are the AES, Navient and Fedloan accounts false on the face of the credit

report but this reporting is extremely misleading because it makes it look like the Plaintiff is still

late on these accounts that were previously brought to a zero balance.

   25.     Although Plaintiff’s accounts had a zero balance, Plaintiff’s Equifax report dated

11/12/2018 reported the “Pay Status: Over 120 Days Past Due”. It is impossible and incorrect for

accounts that are closed with a “0” balance to still be reporting as late as of 11/12/2018. Not only

are the AES, Navient and Fedloan accounts false on the face of the credit report but this reporting

is extremely misleading because it makes it look like the Plaintiff is still late on these accounts that

were previously brought to a zero balance.

   26.     As required by the Fair Credit Reporting Act, Plaintiff mailed a detailed and thorough

dispute letter to Trans Union disputing the erroneous current pay status of Account 120 Days Past



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Due Date that AES, Navient and Fedloan were reporting to Trans Union. Based on information

and belief, Trans Union sent an ACDV to AES, Navient and Fedloan to alert them of Plaintiff’s

dispute and give them the opportunity to investigate Plaintiff’s dispute and correct or delete any

incorrect data they were reporting to Trans Union. Instead of correcting the erroneous historical

pay status they were reporting to Trans Union on AES accounts # 7PA0**** and #7PA0****,

Navient accounts #1ER0****, #1ER0****, #1ER0****, #1ER0****, #1ER0****, and

#1ER0****, and Fedloan accounts #8FD0****, #8FD0****, #8FD0****, #8FD0****,

#8FD0**** and #8FD0****, AES, Navient and Fedloan verified the inaccurate pay status to Trans

Union and continued to report a historical pay status to Trans Union instead of a current pay status

on Plaintiff’s accounts with AES, Navient and Fedloan. As a result of Plaintiff’s dispute, AES,

Navient and Fedloan verified the current pay status of the accounts as accurate and instructed Trans

Union to continue to report an inaccurate pay status of “Pay Status: Account 120 Days Past Due

Date”. As a result of AES, Navient, and Fedloan’s unreasonable and lacking investigation, Trans

Union continued to report the inaccurate pay status on Plaintiff’s Trans Union Credit Report at the

instructions of AES, Navient and Fedloan. Plaintiff’s latest Trans Union credit report dated

11/11/2018 is currently reporting the same inaccurate pay status on the AES, Navient and Fedloan

accounts.

   27.       As required by the Fair Credit Reporting Act, Plaintiff mailed a detailed and thorough

dispute letter to Equifax disputing the erroneous current pay status of Over 120 Days Past Due that

AES, Navient and Fedloan were reporting to Equifax. Based on information and belief, Equifax

sent an ACDV to AES, Navient and Fedloan to alert them of Plaintiff’s dispute and give them the

opportunity to investigate Plaintiff’s dispute and correct or delete any incorrect data they were

reporting to Equifax. Instead of correcting the erroneous historical pay status they were reporting



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to Equifax on AES accounts #7PA0**** and #7PA0****, Navient accounts #1ER0****,

#1ER0****, #1ER0****, #1ER0****, #1ER0****, and #1ER0****, and Fedloan accounts

#8FD0****, #8FD0****, #8FD0****, #8FD0****, #8FD0**** and #8FD0****, AES, Navient

and Fedloan verified the inaccurate pay status to Equifax and continued to report a historical pay

status to Equifax instead of a current pay status on Plaintiff’s accounts with AES, Navient and

Fedloan. As a result of Plaintiff’s dispute, AES, Navient and Fedloan verified the current pay

status of the accounts as accurate and instructed Equifax to continue to report an inaccurate pay

status of “Pay Status: Over 120 Days Past Due”. As a result of AES, Navient and Fedloan’s

unreasonable and lacking investigation, Equifax continued to report the inaccurate pay status on

Plaintiff’s Equifax Credit Report at the instructions of AES, Navient and Fedoan. Plaintiff’s latest

Equifax credit report dated 11/12/2018 is currently reporting the same inaccurate pay status on the

AES, Navient and Fedloan accounts.

   28.     Based on information and belief, Trans Union and Equifax have abandoned and been

derelict in its duties under the Fair Credit Reporting Act and has not conducted its own independent

investigation into Plaintiff’s dispute of the AES, Navient and Fedloan accounts.

   29.     Trans Union and Equifax did not follow reasonable procedures to assure maximum

possible accuracy and has been reporting false and inaccurate information even after it knew or

should have known the information was incorrect.

   30.     AES, Navient and Fedloan did not provide a good faith and reasonable investigation

into the disputed current pay status on the accounts they report to Trans Union and Equifax on

Plaintiff. AES, Navient and Fedloan’s investigation was unreasonable and lacking because it failed

to lead AES, Navient and Fedloan to correct the inaccurate pay status they were reporting to Trans

Union and Equifax on Plaintiff. A reasonable investigation would have discovered they should be



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reporting the accounts to Trans Union as “was previously Account 120 Days Past Due Date” or

“Current, was previously Account 120 Days Past Due Date” and a reasonable investigation would

have discovered they should be reporting the accounts to Equifax as “was Over 120 Days Past Due

previously ” or “Current, was previously Over 120 Days Past Due”. If the accounts had been

reported in either of these methods, it would have no longer been reviewed as a current past due

obligation and would have had much less of an impact on Plaintiff’s credit profile after two years

from the date the accounts balances were eliminated. Instead the AES, Navient and Fedloan

accounts are being reported as a current past due obligation monthly.

   31.     Trans Union did not provide a good faith investigation into the disputed pay status of

the AES, Navient and Fedloan accounts. Based on information and belief, Trans Union did nothing

more than parrot data from AES, Navient and Fedloan in their investigation.

   32.     Equifax did not provide a good faith investigation into the disputed pay status of the

AES, Navient, and Fedloan accounts. Based on information and belief, Trans Union did nothing

more than parrot data from AES, Navient and Fedloan in their investigation.

   33.     The AES, Navient and Fedloan accounts are not only inaccurate, but also misleading,

which the Third Circuit has addressed. The Third Circuit has agreed with other circuits that even

if information in a report is technically correct, it may still be inaccurate if, through omission, it

“create[s] a materially misleading impression.” Seamans v. Temple University, 744 F.3d 853, 865

(3rd Cir. 2014) (quoting Saunders v. Branch Banking & Trust Co. of Va., 526 F.3d 142, 148 (4th

Cir. 2008). Further, the court in Seamans agreed that whether technically accurate information was

“‘misleading in such a way and to such an extent that [it] can be expected to have an adverse

effect’” is generally a question to be submitted to the jury. 744 F.3d at 865 (quoting Gorman v.

Wolpoff & Abramson, LLP, 584 F.3d 1147, 1163 (9th Cir. 2009)). See also Hillis v. Trans Union,



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LLC, 969 F.Supp.2d 419, 421 (E.D. P.A. Sept 18, 2013) (agreeing that “inaccurate” information,

in the FCRA context, refers to information that either is factually incorrect or creates a misleading

impression).

   34.     Trans Union has a statutory duty to have reasonable procedures to assure maximum

accuracy. Their procedures regarding the reporting of current pay statuses are not assuring

accuracy, much less maximum accuracy. Trans Union’s lacking policies and procedures are

continuing to allow data furnishers such as AES, Navient and Fedloan, to report historical pay

statuses where a current pay status is needed.

   35.     Equifax has a statutory duty to have reasonable procedures to assure maximum

accuracy. Their procedures regarding the reporting of current pay statuses are not assuring

accuracy, much less maximum accuracy. Trans Union’s lacking policies and procedures are

continuing to allow data furnishers such as AES, Navient and Fedloan, to report historical pay

statuses where a current pay status is needed.

   36.     The reporting of this inaccurate payment status on Plaintiff’s credit report negatively

reflects upon the Plaintiff, their credit repayment history, their financial responsibility as a debtor

and their credit worthiness. The inaccurate pay status was furnished by AES, Navient and Fedloan

and reported by Trans Union and Equifax, misrepresenting the payment rating and/or status of

Plaintiff’s accounts, and is currently being reported and reflected upon Plaintiff’s most recent

credit report, resulting in lowering Plaintiff’s credit score and furthering and increasing Plaintiff’s

damages.

   37.     Plaintiff’s credit reports, credit information and file formulated by Trans Union and

Equifax have been viewed by current and potential credit grantors and extenders of credit, as

indicated by inquiries on each of their credit reports. The inaccurate information furnished by AES



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and reported by Trans Union and Equifax is continuing to damage the Plaintiff’s credit rating as

well as their credit reputation.

    38.     As a result of Defendants, Trans Union, Equifax’s conduct, Plaintiff has suffered great

physical, emotional and mental pain and anguish, all to Plaintiff’s great detriment and loss.

    39.     As a result of Defendants conduct, Plaintiff has suffered actual damages all to

Plaintiff’s great detriment and loss.

    40.     At all times pertinent hereto, Defendants were acting by and through their agents,

servants, and/or employees who were acting within the course and scope of their agency or

employment, and under the direct supervision and control of the Defendants herein.

    41.     At all times pertinent hereto, the conduct of the Defendants, as well as that of their

agents, servants and/or employees, was malicious, intentional, willful, reckless, and in grossly

negligent disregard for federal laws and the rights of the Plaintiff herein.

                                        CAUSES OF ACTION

    42.     Plaintiff incorporates by reference the foregoing paragraphs and footnotes as though

the same were set forth at length herein.

    43.     This suit is based upon the Defendants violations of the Fair Credit Reporting Act. All

causes of action were the producing causes of damages which Plaintiff has suffered.



                  COUNT I—VIOLATION OF THE FAIR REPORTING ACT

    44.     Plaintiff incorporates by reference the foregoing paragraphs and as though the same

were set forth at length herein.

    45.     This suit is brought against the Defendants as the damages made the basis of this suit

were caused by their violations of the FCRA. In all instances of violating the FCRA, Defendant



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did so willfully and/or negligently. Under, 15 U.S.C. §1681n and §1681o, the Plaintiff is entitled

to recover actual damages, punitive damages, and reasonable attorneys’ fees.

15 U.S.C. §1681n, “Civil Liability for willful noncompliance” reads:

               (a) Any person who willfully fails to comply with any requirement
               imposed under this title with respect to any consumer is liable to that
               consumer in an amount equal to the sum of
               (1) any actual damages sustained by the consumer as a result of the
               failure or damages of not less than $100 and not more than $1000
               (2) such amount of punitive damages as the court may allow; and
               (3) in the case of any successful action to enforce any liability under
               this section, the costs of the action together with reasonable
               attorneys fees as determined by the court.

   And 15 U.S.C. §1681o, “Civil Liability for negligent noncompliance” reads:

               (a) Any person who is negligent in failing to comply with any
               requirement imposed under this title with respect to any consumer
               is liable to that consumer in an amount equal to the sum of:

               (1) any actual damages sustained by the consumer as a result of the
               failure; and
               (2) in the case of any successful action to enforce any liability under
               this section, the costs of the action with reasonable attorney’s fees
               as determined by the court.

                                    TransUnion’s FCRA Violations

   46.     Trans Union violated their duty under 15 U.S.C. §1681i(a)(1)(A) to conduct a good

faith investigation into Plaintiff’s notice of dispute. Plaintiff requested Trans Union to reinvestigate

the inaccurate reporting of the current pay status on their AES, Navient and Fedloan accounts via

detailed and thorough dispute letter specifically disputing the inaccurate current “Pay Status:

Account 120 Days Past Due Date”.

   47.     The dispute was detailed, thorough and informed Trans Union of all the relevant

information regarding the inaccuracies of the accounts and provided enough information to show

the accounts were being reported inaccurately. A portion of the dispute letter is reproduced below.



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   48.     Trans Union did not conduct a good faith and reasonable investigation into Plaintiff’s

dispute. If they had, they would have discovered that AES, Navient and Fedloan were reporting

an incorrect historical pay status to them instead of an accurate current pay status. All the

information Trans Union needed to determine this was in its own records and files. Based on

information and belief, Trans Union forsook its duties under the Fair Credit Reporting Act and has

not conducted its own independent investigation into Plaintiff’s dispute of the AES, Naveint and

Fedloan accounts. Trans Union simply parroted data from an ACDV sent to it by AES, Navient


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and Fedloan. Based on information and belief, Trans Union did not place one call or send one

email investigating Plaintiff’s dispute of the AES, Navient and Fedloan accounts. Trans Union

simply regurgitated data from the ACDV.

   49.     The disputed accounts have a current pay status that is “Pay Status: Account 120 Days

Past Due Date” even though Trans Union is currently reporting Plaintiff’s accounts with a “$0”

balance. It is impossible for Plaintiff to make “$0” payments to bring the accounts current. With

this type of reporting, Plaintiff will never be able to bring the accounts current. A reproduction of

the inaccurate reporting is seen below.




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       50.       Trans Union was notified and made aware of the specific issues from the dispute

  letter. It should have been easy for Trans Union to determine that the accounts were extremely

  inaccurate with the information that was provided.

       51.       Trans Union is allowing the data furnishers, AES, Navient and Fedloan, to report

historical data within a data field for the current status of the accounts. When a current status code

is used to report historical data, the credit scoring algorithm’s treat the historical data as current

data. The effect is obvious. The erroneous status decreases the consumer’s credit worthiness by

implying that the consumer is currently late on an existing obligation. In other words, if AES,

Navient and Fedloan would have reported Plaintiff’s AES, Navient and Fedloan accounts as

previously late on their loans—an accurate reporting, Plaintiff would not be here today.


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   52.     The fact that Trans Union is currently reporting inaccurate information on Plaintiff’s

credit profiles/credit reports to the best of Plaintiff’s information and belief, which are viewable

and have been viewed by third parties, is proof that Trans Union did not conduct a reasonable

investigation. If Trans Union would have thoroughly investigated the issues, they would have

determined that the accounts were paid off, with a “$0” balance and still reporting as if Plaintiff is

currently late and past due. If Trans Union had conducted a reasonable and good faith investigation

they would have corrected or deleted the Plaintiff’s accounts that are inaccurate and misleading.

      The section entitled “Procedure in case of disputed accuracy” under 15 U.S.C.

§1681i(a)(1)(a) reads:

           (a) Reinvestigations in case disputed information

            (1) Reinvestigation required

                   (A) In general-- Subject to subjection (f), if the completeness or accuracy of
                   any item of information contained in a consumer's file at a consumer reporting
                   agency is disputed by the consumer and the consumer notifies the agency
                   directly, or indirectly through a reseller, of such dispute, the agency shall, free
                   of charge, conduct a reasonable reinvestigation to determine whether the
                   disputed information is inaccurate and record the current status of the disputed
                   information, or delete the item from the file in accordance with paragraph (5),
                   before the end of the 30 day period beginning on the date on which the agency
                   receives the notice of the dispute from the consumer or reseller.
   And:

   15 U.S.C. §1681i(a)(5) reads:

               (5) Treatment of Inaccurate or Unverifiable Information

               (A)In general. If, after any reinvestigation under paragraph (1) of
               any information disputed by a consumer, an item of the information
               is found to be inaccurate or incomplete or cannot be verified, the
               consumer reporting agency shall-

                         (i)   promptly delete that item of information from the file
                               of the consumer, or modify that item of information,
                               as appropriate, based on the results of the
                               reinvestigation; and

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                        (ii)   promptly notify the furnisher of that information that
                               the information has been modified or deleted from
                               the file of the consumer

    53.         Trans Union is currently violating 15 U.S.C. §1681e(b), by not following

reasonable procedures to assure maximum possible accuracy. If Trans Union was complying with

15 U.S.C. §1681e(b), it would place a filter or formula in its reporting system that would suppress

or block accounts with a zero balance from being reported with a current status of past due or late.

   54.      Plaintiff’s debts on the AES, Navient and Fedloan accounts were fully eliminated, but

Trans Union continued to report the accounts with a late/past due status. If Trans Union had

reasonable procedures, they would not allow accounts to report as though the accounts are

currently past due, with a “$0” balance. This simply makes no logical sense. Trans Union should

be reporting the accounts as “current” or was “previously past due” and not “past due.” These

accounts are reporting as though the Plaintiff is currently past due each month. With this type of

reporting, Plaintiff will never be able to make their accounts current. Trans Union lacks the

procedures to avoid such faulty reporting. Trans Union knows that these accounts were paid,

however, they continue to report a current status as past due.

    15 U.S.C. §1681e(b) reads as follows:

                  (a) Accuracy of the Report

                 Whenever a consumer reporting agency prepares a consumer
                 report it shall follow reasonable procedures as assure maximum
                 possible Accuracy of the information concerning the individual
                 about whom the report relates.

         55. Trans Union has been on notice that reporting an account with a $0 balance and a late

status is not accurate. Trans Union was a co-defendant in Macik v. JPMorgan Chase Bank, N. A.,

et al.: U.S. District Court for the Southern District of Texas, Galveston Division (Case 3:14-cv-



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 44). Plaintiff’s Counsel filed suit against Transunion, Equifax and JPMorgan Chase bank in

 Galveston, Texas, alleging that they were reporting her pay status as 90 days past due, with a zero

 ($) balance, even though the account was paid off five years earlier. Macik lost a home loan

 because the program that is used in determining eligibility specifically stated that her Chase

 account was late two or more times in the last twelve months, even though the loan it was

 referring to was paid in full five (5) years earlier.

          56.     The Macik jury determined that reporting an account with a $0 balance, and a

 current late pay status, is not only inaccurate, but a willful violation of the FCRA. Trans Union

 knows this because they were a co-defendant and had counsel present when the jury verdict was

 rendered as well as receiving an ECF copy of the ruling. Even though this verdict was from an

 outside circuit, Plaintiff cites it simply to show that this inaccurate reporting is an issue that not

 only should be determined by a jury, but that, in fact, a jury has already returned a verdict on the

 issue deeming this type of reporting as inaccurate and a willful violation of the FCRA.

                     Third Parties have viewed Plaintiff’s Trans Union Credit Report

     57.        The negative tradeline(s) reported by AES, Navient and Fedloan on Plaintiff’s Trans

Union Credit report have been viewed by third parties all to the detriment and loss of the Plaintiff.

     58.          Plaintiff has suffered actual harm due to Trans Union still reporting the negative

tradeline provided by AES, Navient and Fedloan on Plaintiff’s Trans Union report even though

Trans Union was put on notice of the inaccurate negative reporting through Plaintiff’s dispute

letter.

     59.          The conduct of the Defendant was the direct and proximate cause, as well as, a

substantial factor in bringing about the serious injuries, damages and harm to Plaintiff that are

outlined above and, as a result, Defendant is liable to compensate Plaintiff for the full amount of



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actual, statutory, compensatory and punitive damages, as well as, such other relief, permitted by

law.

                                     Equifax’s FCRA Violations

   60.      Equifax violated their duty under 15 U.S.C. §1681i(a)(1)(A) to conduct a good faith

investigation into Plaintiff’s notice of dispute. Plaintiff requested Equifax to reinvestigate the

inaccurate reporting of the current pay status on their AES, Navient and Fedloan accounts via

detailed and thorough dispute letter specifically disputing the inaccurate current “Pay Status: Over

120 Days Past Due”.

   61.      The dispute was detailed, thorough and informed Equifax of all the relevant

information regarding the inaccuracies of the accounts and provided enough information to show

the accounts were being reported inaccurately. A portion of the dispute letter is reproduced below.




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   62.     Equifax did not conduct a good faith and reasonable investigation into Plaintiff’s

dispute. If they had, they would have discovered that AES, Navient and Fedloan were reporting

an incorrect historical pay status to them instead of an accurate current pay status. All the

information Equifax needed to determine this was in its own records and files. Based on

information and belief, Equifax forsook its duties under the Fair Credit Reporting Act and has not

conducted its own independent investigation into Plaintiff’s dispute of the AES, Navient and

Fedloan accounts. Equifax simply parroted data from an ACDV sent to it by AES, Navient and


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Fedloan. Based on information and belief, Equifax did not place one call or send one email

investigating Plaintiff’s dispute of the AES, Navient and Fedloan accounts. Equifax simply

regurgitated data from the ACDV.

   63.      The disputed accounts have a current pay status that is “Pay Status: Over 120 Days

Past Due” even though Equifax is currently reporting Plaintiff’s accounts with a “$0” balance. It

is impossible for Plaintiff to make “$0” payments to bring the accounts current. With this type of

reporting, Plaintiff will never be able to bring the accounts current. A reproduction of the

inaccurate reporting is seen below.




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    64.        Equifax was notified and made aware of the specific issues from the dispute letter.

It should have been easy for Equifax to determine that the accounts were extremely inaccurate

with the information that was provided.

    65.        Equifax is allowing the data furnishers, AES, Navient and Fedloan to report

historical data within a data field for the current status of the accounts. When a current status code

is used to report historical data, the credit scoring algorithm’s treat the historical data as current


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data. The effect is obvious. The erroneous status decreases the consumer’s credit worthiness by

implying that the consumer is currently late on an existing obligation. In other words, if AES,

Navient and Fedloan would have reported Plaintiff’s AES, Navient and Fedloan accounts as

previously late on their loans—an accurate reporting, Plaintiff would not be here today.

   66.     The fact that Equifax is currently reporting inaccurate information on Plaintiff’s credit

profiles/credit reports to the best of Plaintiff’s information and belief, which are viewable and have

been viewed by third parties, is proof that Equifax did not conduct a reasonable investigation. If

Equifax would have thoroughly investigated the issues, they would have determined that the

accounts were paid off, with a “$0” balance and still reporting as if Plaintiff is currently late and

past due. If Equifax had conducted a reasonable and good faith investigation they would have

corrected or deleted the Plaintiff’s accounts that are inaccurate and misleading.

      The section entitled “Procedure in case of disputed accuracy” under 15 U.S.C.

§1681i(a)(1)(a) reads:

           (a) Reinvestigations in case disputed information

            (1) Reinvestigation required

                   (A) In general-- Subject to subjection (f), if the completeness or accuracy of
                   any item of information contained in a consumer's file at a consumer reporting
                   agency is disputed by the consumer and the consumer notifies the agency
                   directly, or indirectly through a reseller, of such dispute, the agency shall, free
                   of charge, conduct a reasonable reinvestigation to determine whether the
                   disputed information is inaccurate and record the current status of the disputed
                   information, or delete the item from the file in accordance with paragraph (5),
                   before the end of the 30 day period beginning on the date on which the agency
                   receives the notice of the dispute from the consumer or reseller.
   And:

   16 U.S.C. §1681i(a)(5) reads:

               (5) Treatment of Inaccurate or Unverifiable Information




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               (A)In general. If, after any reinvestigation under paragraph (1) of
               any information disputed by a consumer, an item of the information
               is found to be inaccurate or incomplete or cannot be verified, the
               consumer reporting agency shall-

                       (iii)   promptly delete that item of information from the file
                               of the consumer, or modify that item of information,
                               as appropriate, based on the results of the
                               reinvestigation; and

                       (iv)    promptly notify the furnisher of that information that
                               the information has been modified or deleted from
                               the file of the consumer

    67.        Equifax is currently violating 15 U.S.C. §1681e(b), by not following reasonable

procedures to assure maximum possible accuracy. If Equifax was complying with 15 U.S.C.

§1681e(b), it would place a filter or formula in its reporting system that would suppress or block

accounts with a zero balance from being reported with a current status of past due or late.

   68.      Plaintiff’s debt on the AES, Navient and Fedloan accounts was fully eliminated, but

Equifax continued to report the accounts with a late/past due status. If Equifax had reasonable

procedures, they would not allow accounts to report as though the accounts are currently past due,

with a “$0” balance. This simply makes no logical sense. Equifax should be reporting the accounts

as “current” or was “previously past due” and not “past due.” These accounts are reporting as

though the Plaintiff is currently past due each month. With this type of reporting, Plaintiff will

never be able to make their accounts current. Equifax lacks the procedures to avoid such faulty

reporting. Equifax knows that these accounts were paid, however, they continue to report a current

status as past due.

     15 U.S.C. §1681e(b) reads as follows:

                 (b) Accuracy of the Report

                 Whenever a consumer reporting agency prepares a consumer
                 report it shall follow reasonable procedures as assure maximum

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                possible Accuracy of the information concerning the individual
                about whom the report relates.

       69. Equifax has been on notice that reporting an account with a $0 balance and a late status

is not accurate. Equifax was a co-defendant in Macik v. JPMorgan Chase Bank, N. A., et al.: U.S.

District Court for the Southern District of Texas, Galveston Division (Case 3:14-cv-44).

Plaintiff’s Counsel filed suit against Trans Union, Equifax and JPMorgan Chase bank in

Galveston, Texas, alleging that they were reporting her pay status as 90 days past due, with a zero

($) balance, even though the account was paid off five years earlier. Macik lost a home loan

because the program that is used in determining eligibility specifically stated that her Chase

account was late two or more times in the last twelve months, even though the loan it was

referring to was paid in full five (5) years earlier.

       70.     The Macik jury determined that reporting an account with a $0 balance, and a

current late pay status, is not only inaccurate, but a willful violation of the FCRA. Equifax knows

this because they were a co-defendant and had counsel present when the jury verdict was rendered

as well as receiving an ECF copy of the ruling. Even though this verdict was from an outside

circuit, Plaintiff cites it simply to show that this inaccurate reporting is an issue that not only

should be determined by a jury, but that, in fact, a jury has already returned a verdict on the issue

deeming this type of reporting as inaccurate and a willful violation of the FCRA.

                    Third Parties have viewed Plaintiff’s Equifax’s Credit Report

    71.      The negative tradeline(s) reported by AES, Navient and Fedloan on Plaintiff’s

Equifax Credit report have been viewed by third parties all to the detriment and loss of the

Plaintiff.

    72.        Plaintiff has suffered actual harm due to Equifax still reporting the negative

tradeline provided by AES, Navient and Fedloan on Plaintiff’s Equifax report even though Equifax

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was put on notice of the inaccurate negative reporting through Plaintiff’s dispute letter.

         73.      The conduct of the Defendant was the direct and proximate cause, as well as, a

substantial factor in bringing about the serious injuries, damages and harm to Plaintiff that are

outlined above and, as a result, Defendant is liable to compensate Plaintiff for the full amount of

actual, statutory, compensatory and punitive damages, as well as, such other relief, permitted by

law.

             Industry Guidelines cannot negate Defendant’s obligations under the FCRA

         74.      Neither Defendant can rely on their industry guidelines as a defense in this matter.

Please see EMILY COULTER, Plaintiff, v. CHASE BANK USA, N.A., Defendant.” We agree with

Plaintiff that Defendant may not use these guidelines as a defense here. Notably, Defendant does

not cite to any legal authority for the proposition that adherence to these industry guidelines shields

it from FCRA liability. (See ECF No. 86 at 15-16.) Indeed, the relevant case law plainly runs

counter to this argument. See, e.g., Florence v. Cenlar Fed. S&L, No. 16-587, 2018 U.S. Dist.

LEXIS 34151, at *20 (D. Nev. Mar. 1, 2018) (“industry guidelines—such as Metro 2—do not

establish the standards for accuracy under the FCRA.”); Burrows v. Experian Info. Sols., Inc., No.

16-6356, 2017 U.S. Dist. LEXIS 39845, at *21-22 (N.D. Cal. Mar. 20, 2017) (“FCRA does not

mandate compliance with Metro 2 or any other particular set of industry standards.”). EMILY

COULTER, Plaintiff, v. CHASE BANK USA, N.A., Defendant., No. CV 18-1538, 2020 WL

5820700, at *12 (E.D. Pa. Sept. 30, 2020)

       75.       The negative tradeline(s) reported by AES, Navient and Fedloan on Plaintiff’s

Trans Union and Equifax Credit Reports have been viewed by third parties all to the detriment

and loss of the Plaintiff.

   76.         Plaintiff has suffered actual harm due to Trans Union and Equifax still reporting the


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negative tradeline provided by AES, Navient and Fedloan on Plaintiff’s Trans Union and Equifax

reports even though Defendant’s were put on notice of the inaccurate negative reporting through

Plaintiff’s dispute letter.

   77.       The conduct of Defendants was the direct and proximate cause, as well as, a

substantial factor in bringing about the serious injuries, damages and harm to Plaintiff that are

outlined above and, as a result, Defendants are liable to compensate Plaintiff for the full amount

of actual, statutory, compensatory and punitive damages, as well as, such other relief, permitted

by law.

                                   DEMAND FOR JURY TRIAL

   78.       Plaintiff demands trial by jury.

                                       PRAYER FOR RELIEF

    WHEREFORE, the Plaintiff seeks judgment in Plaintiff’s favor and damages against the

Defendants based on the following requested relief:

    a. Actual damages pursuant to 15 U.S.C. §1681;

    b. Statutory damages pursuant to 15 U.S.C. §1681;

    c. Punitive damages pursuant to 15 U.S.C. §1681;

    d. Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §1681n, §1681o; and

    e. Such other and further relief as may be necessary, just and proper.

Respectfully submitted,
BY: /s/ Matthew Weisberg                              BY: /s/ Gary Schafkopf
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DATED: 11-9-2020                                      DATED: 11-9-2020

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